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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 _________________________________________
                                           :
 NORTHEAST INDUSTRIES LLC AND              :
 JOSEPH DELUCA                             :
                                           : CIVIL ACTION
                         Plaintiffs        :
                                           :
             v.                            : NO.: 2:18-cv-04379-JS
                                           :
 ON TARGET LABORATORIES LLC; ON            :
 TARGET LABORATORIES, INC., AND            : Jury Trial Demanded
 MARTIN R. LOW                             :
                                           :
                         Defendants.
 _________________________________________


                        PLAINTIFFS’ OPPOSITION TO
                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        Plaintiffs Northeast Industries LLC and Joseph DeLuca hereby oppose the Motion for

Summary Judgment filed by Defendants. The grounds for Plaintiffs’ opposition are stated more

fully in the accompanying Response to Defendants’ Statement of Undisputed Facts,

Memorandum of Law, and exhibits, all of which are incorporated by reference as if set forth in

full herein.



Dated: June 6, 2019                                 KUTAK ROCK LLP

                                            By:      /s/ Peter N. Kessler
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